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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                                                x
 JUAN J. JIMENEZ                                                               AMENDED
                                                                               COMPLAINT

                                           Plaintiff,                          JURY DEMAND

                 -against-


 THE CITY OF NEW YORK; DERMOT F. SHEA; as Police
 Commissioner; HUGH BOGLE, as Commanding Officer,
 Internal Affairs Bureau Group No.: 41; DERBY WANCCIQUE,
 as Sergeant, Internal Affairs Bureau Group No.: 41; PASCALE
 DENIS, as Detective, Internal Affairs Bureau Group No.: 41;
 VIVENE SIMPSON, as Supervisor, Administration for Children
 Services; and GLORY OKEZIE, as Child Protective Specialist,
 Administration for Children Services, each sued Individually and
 in their official capacities as employees of defendant THE CITY
 OF NEW YORK

                                           Defendants'
                                                                x

         The PlaintiffJUAN J. JIMENEZ through his attorney The Sanders Firm, P.C., files this

 federal complaint against Defendants' THE CITY OF NEW YORK; DERMOT F. SHEA; HUGH

 BOGLE; DERBY WANCCIQUE; PASCALE DENIS; VIVENE SIMPSON and GLORY OKEZIE

 respectfully set forth and allege that:

                                      INTRODUCTION

        This is an action for equitable relief and money damages on behalf of the PlaintiffJUAN J.

 JIMENEZ, (hereinafter referred to as "Plaintiff') who was and is being deprived of his civil rights

 because Defendants' THE CITY OF NEW YORK; DERMOT F. SHEA; HUGH BOGLE; DERBY

 WANCCIQUE; PASCALE DENIS; VIVENE SIMPSON and GLORY OKEZIE falsely arrested

 and prosecuted him without probable cause in criminal court, maliciously prosecuted him in Family

 Court with legally baseless Article 10 petitions, then terminate his employment for publicly
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 exposing the serious misconduct.

                                    JURISDICTION AND VENUE

         1.       The jurisdiction of this Court is invoked pursuant to 18 U.S.C. § 1965, 28 U.S.C. §§

 1331, 1343 and 2202 to secure protection of and to redress deprivation of rights secured by:

                  a.     the Civil Rights Act of 1871, 42 U.S.C. § 1983

         2.       The unlawful practices, violations of plaintiff's civil rights complained of herein

 were committed within the Eastern and Southern Districts of New York.

                                  PROCEDURAL REQUIREMENTS

         3.       Plaintiff JUAN J. JIMENEZ has filed suit with this Court within the applicable

 statute of limitations period.

         4.       Plaintiff JUAN J. JIMENEZ is not required to exhaust any administrative

 procedures prior to suit under the Civil Rights Act of 1871.

                                              PLAINTIFF

         5.       Plaintiff JUAN J. JIMENEZ is a male citizen of the United States of America, over

 twenty-one (21) years of age and resident of Kings County.

                                            DEFENDANTS'

         6.      Defendant THE CITY OF NEW YORK is a municipal corporation organized under

 the laws of the State of New York.

         7.      Defendant DERMOT F. SHEA, as Police Commissioner.

        8.       Defendant HUGH BOGLE, as Commanding Officer, Internal Affairs Bureau

 Group No.: 41.

        9.       Defendant DERBY WANCCIQUE, as Sergeant, Internal Affairs Bureau Group

 No.: 41.



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         10.    Defendant PASCALE DENIS, as Detective, Internal Affairs Bureau Group No.:

 41.

         11.    Defendant VIVENE SIMPSON, as Supervisor, Administration for Children

 Services.

        12.     Defendant GLORY OKEZIE, as Child Protective Specialist, Administration for

 Children Services.

                                         BACKGROUND

        13.     Plaintiff JUAN J. JIMENEZ alleges that on or about September 25, 2019, he was

 falsely accused of sexually abusing a minor child.

        14.     Plaintiff JUAN J. JIMENEZ alleges that from the outset, the minor child admitted

 during the one and only forensic interview that she lies.

        15.     Plaintiff JUAN J. JIMENEZ alleges that more importantly, other than the minor

 child false assertions, there's no independent corroborative evidence that he committed any

 criminal offense.

        16.     Plaintiff JUAN J. JIMENEZ alleges that with reckless disregard for the truth and

 lacking probable cause, on or about September 27, 2019, Defendant HUGH BOGLE authorized

 his arrest for Sexual Abuse in the First Degree and related charges.

        17.     Plaintiff JUAN J. JIMENEZ alleges that Defendant HUGH BOGLE then directed

 Defendant DERBY WANCCIQUE to arrest him.

        18.     Plaintiff JUAN J. JIMENEZ alleges that Defendant HUGH BOGLE then directed

 Defendant PASCALE DENIS to process his arrest.

        19.     Plaintiff JUAN J. JIMENEZ alleges that on or about September 30, 2019,

 Defendant HUGH BOGLE filed departmental Charges and Specifications against him related to



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 sexually abusing a minor child.

        20.     Plaintiff JUAN J. JIMENEZ alleges that on or about September 30, 2019, he was

 falsely accused in a parallel child abuse investigation for allegedly abusing the same minor child

 and endangering the welfare of his own minor children.

        21.     Plaintiff JUAN J. JIMENEZ alleges that from the outset, based on the case notes,

 Defendants' VIVENE SIMPSON and GLORY OKEZIE knew the minor child's own parents

 admitted that she lies and they didn't believe her.

        22.     Plaintiff JUAN J. JIMENEZ alleges that prior to the arrest, the minor's parents nor

 other potential witnesses were interviewed.

        23.     Plaintiff JUAN J. JIMENEZ alleges that more importantly, despite the lack of

 credible evidence, two (2) Article 10 petitions in Family Court were filed against him by

 Defendants' VIVENE SIMPSON and GLORY OKEZIE.

        24.     Plaintiff JUAN J. JIMENEZ alleges that on or about December 19, 2019, the

 Article 10 petition filed against him by Defendants' VIVENE SIMPSON and GLORY OKEZIE

 regarding the minor child was dismissed.

        25.     Plaintiff JUAN J. JIMENEZ alleges that on or about May 26, 2020, Assistant

 District Attorney Chris Mirabella, Office of the Kings County District Attorney, Special Victims

 Division informed Defendant PASCALE DENIS, the charges against him have officially been

 dismissed because on March 26, 2020, No Bill was returned.

        26.     Plaintiff JUAN J. JIMENEZ alleges that he and Defendant PASCALE DENIS

 testified before the Grand Jury.

        27.     Plaintiff JUAN J. JIMENEZ alleges that after a two (2) day department trial, on or

 about July 30, 2021, Assistant Deputy Commissioner - Trials Nancy R. Ryan recommended he



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 be found NOT GUILTY of sexually abusing the minor child.

        28.     Plaintiff JUAN J. JIMENEZ alleges that throughout her decision, she notes from

 the outset, the minor child admitted during the one and only forensic interview that she lies.

        29.     Plaintiff JUAN J. JIMENEZ alleges that more importantly, she notes further

 embellishments and other than the minor child false assertions, there's no independent

 corroborative evidence that he committed any criminal offense.

        30.     Plaintiff JUAN J. JIMENEZ alleges that on or about September 21, 2020, the

 Article 10 petition filed against him by Defendants' VIVENE SIMPSON and GLORY OKEZIE

 regarding endangering the welfare of his own minor children was dismissed.

        31.     Plaintiff JUAN J. JIMENEZ alleges that on or about September 24, 2021, the

 New York State Office of Children and Family Services removed all instances of indicated abuse

 filed against him by Defendants' VIVENE SIMPSON and GLORY OKEZIE related to the

 aforementioned allegations from the State Central Register of Child Abuse and Maltreatment.

        32.     Plaintiff JUAN J. JIMENEZ alleges that on or about October 26, 2021, he filed a

 Notice of Claim with the New York City Comptroller's Officer claiming he was falsely arrested

 by Defendants' HUGH BOGLE; DERBY WANCCIQUE and PASCALE DENIS. He also alleged

 being subjected to the filing of false Article 10 Petitions by Defendants' VIVENE SIMPSON and

 GLORY OKEZIE.

        33.     PlaintiffJUAN J. JIMENEZ alleges that on or about October 27, 2021, he disclosed

 through the New York Daily News and the New York Post he was subjected to a false arrest and

 other related misconduct regarding Defendants' THE CITY OF NEW YORK; DERMOT F. SHEA;

 HUGH BOGLE; DERBY WANCCIQUE; PASCALE DENIS; VIVENE SIMPSON and GLORY

 OKEZIE.



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         34.     Plaintiff JUAN J. JIMENEZ alleges that on or about November 12, 2021, in

 retaliation for disclosing his false arrest and other related misconduct to the general public through

 the media, Defendant DERMOT F. SHEA terminated his employment.

                            VIOLATIONS AND CLAIMS ALLEGED

                                        COUNT I
                       VIOLATION OF THE FOURTH AMENDMENT
                                    FALSE ARREST
                                   IN VIOLATION OF
                      THE CIVIL RIGHTS ACT OF 1871, 42 U.S.C. § 1983

        35.     Plaintiff JUAN J. JIMENEX re-alleges Paragraphs 1 through 34 and incorporates

 them by reference as Paragraphs 1 through 34 of Count I of this Complaint.

        36.     Plaintiff JUAN J. JIMENEZ alleges that Defendants' HUGH BOGLE; DERBY

 WANCCIQUE and PASCALE DENIS under color of law, personally interfered with and

 deprived him of his constitutional rights.

        37.     Plaintiff JUAN J. JIMENEZ alleges that Defendants' HUGH BOGLE; DERBY

 WANCCIQUE and PASCALE DENIS acting individually and in their official capacities as

 public officials of Defendant THE CITY OF NEW YORK under color of law, falsely arrested

 and prosecuted him without probable cause in criminal court.

        38.     Plaintiff JUAN J. JIMENEZ alleges that because of alleges Defendants' HUGH

 BOGLE; DERBY WANCCIQUE and PASCALE DENIS'S conduct he suffered emotional

 distress, monetary damage, and incurred medical and legal expenses, and out of pocket expenses

 for telephone, postage, and other costs of pursuing the claims herein.

                                   COUNT II
                    VIOLATION OF THE FOURTH AMENDMENT
                          MALICIOUS PROSECUTION
                               IN VIOLATION OF
                  THE CIVIL RIGHTS ACT OF 1871, 42 U.S.C. § 1983
       (Defendants HUGH BOGLE; DERBY WANCCIQUE and PASCALE DENIS)


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         39.     Plaintiff JUAN J. JIMENEZ re-alleges Paragraphs 1 through 38 and incorporates

 them by reference as Paragraphs 1 through 38 of Count II of this Complaint.

         40.     Plaintiff JUAN J. JIMENEZ alleges that Defendants' HUGH BOGLE; DERBY

 WANCCIQUE and PASCALE DENIS under color of law, personally interfered with and

 deprived him of his constitutional rights.

         41.     Plaintiff JUAN J. JIMENEZ alleges that Defendants' HUGH BOGLE; DERBY

 WANCCIQUE and PASCALE DENIS acting individually and in their official capacities as

 public officials of Defendant THE CITY OF NEW YORK under color of law, falsely arrested

 and prosecuted him without probable cause in criminal court.

         42.     Plaintiff JUAN J. JIMENEZ alleges that because of alleges Defendants' HUGH

 BOGLE; DERBY WANCCIQUE and PASCALE DENIS'S conduct he suffered emotional

 distress, monetary damage, and incurred medical and legal expenses, and out of pocket expenses

 for telephone, postage, and other costs of pursuing the claims herein.

                                        COUNT III
                      VIOLATION OF THE FOURTH AMENDMENT
                                MALICIOUS PROSECUTION
                                    IN VIOLATION OF
                     THE CIVIL RIGHTS ACT OF 1871, 42 U.S.C. § 1983
                   (Defendants' VIVENE SIMPSON and GLORY OKEZIE)

        43.      Plaintiff JUAN J. JIMENEZ re-alleges Paragraphs 1 through 42 and incorporates

 them by reference as Paragraphs 1 through 42 of Count III of this Complaint.

        44.      Plaintiff JUAN J. JIMENEZ alleges that Defendants' VIVENE SIMPSON and

 GLORY OKEZIE under color of law, personally interfered with and deprived him of his

 constitutional rights.

        45.      Plaintiff JUAN J. JIMENEZ alleges that Defendants' VIVENE SIMPSON and



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 GLORY OKEZIE maliciously prosecuted him in Family Court with legally baseless Article 10

 petitions.

         46.     Plaintiff JUAN J. JIMENEZ alleges that because of alleges Defendants' VIVENE

 SIMPSON and GLORY OKEZIE'S conduct he suffered emotional distress, monetary damage,

 and incurred medical and legal expenses, and out of pocket expenses for telephone, postage, and

 other costs of pursuing the claims herein.

                                       COUNT IV
                                    MONELL CLAIM
                                   IN VIOLATION OF
                      THE CIVIL RIGHTS ACT OF 1871, 42 U.S.C. § 1983

         47.     Plaintiff JUAN J. JIMENEZ re-alleges Paragraphs 1 through 46 and incorporates

 them by reference as Paragraphs 1 through 46 of Count IV of this Complaint.

         48.     Plaintiff JUAN J. JIMENEZ alleges that Defendant THE CITY OF NEW YORK

 through its agents caused his injuries.

         49.     Plaintiff JUAN J. JIMENEZ alleges that Defendant THE CITY OF NEW YORK

 actions of implementing `official and un-official' policies of supporting the filing of false arrests

 and maliciously prosecuting he and other similarly situated individuals without probable cause in

 criminal court and maliciously prosecuted he and other similarly situated individuals in Family

 Court with legally baseless Article 10 petitions.

         50.    Plaintiff JUAN J. JIMENEZ alleges that Defendant THE CITY OF NEW YORK

 through its agents deprived him of his constitutional and statutory rights.

         51.    Plaintiff JUAN J. JIMENEZ alleges that Defendant THE CITY OF NEW YORK

 through its agent's actions caused him injuries.

        52.     Plaintiff JUAN J. JIMENEZ alleges that Defendant THE CITY OF NEW YORK

 through its agents caused him to sustain damages.


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                                COUNT V
                          FREEDOM OF SPEECH
                            IN VIOLATION OF
         THE FIRST AMENDMENT OF THE UNITED STATES CONSTITUTION

         53.       Plaintiff re-alleges Paragraphs 1 through 52 and incorporates them by reference as

 Paragraphs 1 through 52 of Count V of this Complaint.

         54.       Plaintiff alleges that Defendant DERMOT F. SHEA interfered with his right to

 freedom of speech and freedom of expression.

         55.       Plaintiff alleges that he engaged in constitutionally protected speech and

 expression.

         56.       Plaintiff alleges that he suffered a retaliatory action Defendant DERMOT F.

 SHEA.

         57.       Plaintiff alleges that the protected speech was a "motivating factor" in the

 retaliatory action.

         58.       Plaintiff alleges that Defendant DERMOT F. SHEA actions caused him mental

 anguish, damage to his personal and professional reputation, and loss of employment

 opportunities.

                                             JURY TRIAL

         59.       Plaintiff JUAN J. JIMENEZ demands a trial by jury of all issues in this action that

 are so triable.

                                        PRAYER FOR RELIEF

         Wherefore, Plaintiff JUAN J. JIMENEZ demands compensatory and punitive damages

 from Defendants' THE CITY OF NEW YORK; DERMOT F. SHEA; HUGH BOGLE; DERBY

 WANCCIQUE; PASCALE DENIS; VIVENE SIMPSON and GLORY OKEZIE jointly and

 severally, in an amount to be determined at trial, plus available statutory remedies, both legal and


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  equitable, interests and costs.

  Dated: December 6, 2021
  New York, N.Y.




                                                ect   y submitted,

                                     By:
                                            Eric Sanders

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